






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00237-CR


NO. 03-04-00238-CR






Tyree Richardson, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT


NOS. 3021613 &amp; 3021594, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Tyree Richardson seeks to appeal from judgments of conviction for burglary of a
habitation.  The trial court has certified that these are plea bargain cases and Richardson has no right
of appeal.  Tex. R. App. P. 25.2(a)(2), (d).  Also, the notices of appeal were untimely filed fifty-four
days after sentencing.  Id. rule 26.2(a)(1).  The appeals are dismissed.



				__________________________________________

				Bea Ann Smith, Justice

Before Justices Kidd, B. A. Smith and Pemberton

Dismissed for Want of Jurisdiction

Filed:   May 13, 2004

Do Not Publish


